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                       UNITED STATES DISTRICT COURT
                           DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA

v.                                                        Case No. 1:21-cr-207 (TNM)

MATTHEW COUNCIL

_____________________________/

                               MISCELLANEOUS NOTICE

       NOW COMES Matthew Council, by and through undersigned counsel, and

provides this Court of notice of the following facts. This Court held a sentencing

hearing in this case on December 12, 2022. The Court sentenced Mr. Council to

probation with a period of home detention. One issue at the hearing is where Mr.

Council would serve the period of home detention. In his allocution, Mr. Council

requested that he be allowed to live in his parents’ home. Defense counsel addressed

the issue, indicating that the Court could decide instead to initially require to Mr.

Council to live at his then-current residence, an assisted living facility, and that the

terms of probation would require him to seek approval of any change of residence, a

request that could be entertained when made. The Court resolved this issue by

imposing the sentence but also setting a follow-up progress hearing on February 23,

2023, to address the question of Mr. Council’s residence. The Court indicated that,

if Mr. Council still desired to move to his parents’ home at the time of the progress

hearing, his parents should attend the hearing. The Court also indicated that if Mr.
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Council no longer desired to move from the assisted living facility, the hearing could

be cancelled. Everyone in the courtroom that day understood that Mr. Council

would live at the assisted living facility at least until the progress hearing, at which

point the Court would decide whether he could move in with his parents.

       However, Mr. Council’s supervising probation officer was not in the

courtroom that day. In the Court’s written judgment, the condition of probation

controlling Mr. Council’s residence reads, “You must live at a place approved by the

probation officer” (emphasis added). Upon returning to his home district in the Middle

District in Florida, Mr. Council dutifully reported to his supervising probation

officer. The probation officer reviewed the conditions of probation and Mr.

Council’s description of his living arrangements at the assisted living facility, along

with his description of the availability of his parents’ home. The probation officer

determined that the assisted living facility would be inappropriate for purposes of

home detention, and directed Mr. Council to change his residence to his parents’

home. Mr. Council did so. Mr. Council attempted to report this to defense counsel,

but did so by sending a text message to a temporary phone number defense counsel

had provided him solely for purposes of communicating while traveling to the

District of Columbia. Consequently, Mr. Council has lived at his parents’ home for

the duration of his probation thus far, and defense counsel only recently learned of

this fact.
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      The parties have conferred and are prepared to proceed however the Court

prefers. The February in-person progress hearing seemed primarily designed to

consider whether Mr. Council would be permitted to move to his parents’ home, but

that has already happened. The parties’ expense and time in travelling to a hearing

could be saved by cancelling the hearing or converting it to a teleconference hearing.

Defense counsel has brought the requirement of a written progress report to the

supervising probation officer’s attention, and she has pledged to file one.

      DATED this 12th day of January 2023.

                                               Respectfully submitted,

                                               A. FITZGERALD HALL, ESQ.
                                               FEDERAL DEFENDER

                                               /s Samuel E. Landes
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                            CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on this 12th of January 2023, a true and correct

copy of the foregoing was filed with the Clerk of the Court using the CM/ECF

system, which will send a notice of the electronic filing to:

      AUSA Sean Murphy.

                                                /s Samuel E. Landes
                                                Samuel E. Landes, Esq.
                                                Assistant Federal Defender




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